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    9                       UNITED STATES DISTRICT COURT
   10                     CENTRAL DISTRICT OF CALIFORNIA
   11                              EASTERN DIVISION
   12
   13 JOSEPH DIAZ, JR.,                        Case No. 5:20-cv-02332-JWH-KK
   14              Plaintiff,                  [PROPOSED] ORDER RE JOINT
                                               STIPULATION TO
   15        v.                                CONTINUE PRETRIAL AND
                                               TRIAL DEADLINES
   16 RALPH HEREDIA, true name
      RAFAEL HEREDIA TARANGO, a/k/a
   17 RAFAEL HEREDIA, a/k/a RAFAEL             Courtroom:    2
      BUSTAMANTE; JOHN DOE, ESQ.;              Judge:        Hon. John W. Holcomb
   18 and JANE DOES 1 through 20,
      inclusive,
   19
                 Defendants.
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                                                     [PROPOSED] ORDER RE STIPULATION TO
                                                     CONTINUE PRE-TRIAL AND TRIAL DATES
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    1                                        ORDER
    2
    3        The Court, having considered the Stipulation to Continue Pre-Trial and Trial
    4 Deadlines submitted by Plaintiff Joseph Diaz, Jr. (“Plaintiff” or “Diaz”) and
    5 Defendants/Counter Claimants Ralph Heredia and Heredia Boxing Management
    6 (“Defendants”) (collectively the “Parties”), by and through their undersigned counsel
    7 of record, and having considered all other records on file in this action and matters
    8 properly before it, hereby orders as follows:
    9        The Court finds GOOD CAUSE to continue the pre-trial and trial dates as
   10 follows:
   11                                           Current Deadline      Proposed Deadline
   12 Written Discovery Cut-Off:               March 31, 2023         July 31, 2023
   13 Final Pretrial Conference:               June 23, 2023          October 23, 2023
   14 Jury Trial:                              July 10, 2023          November 7, 2023
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   17        IT IS SO ORDERED.
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   19 Dated: __________________                By: ________________________________
                                                 Hon. John W. Holcomb
   20                                            United States District Judge
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                                                [PROPOSED] ORDER RE STIPULATION TO CONTINUE
                                                                  PRE-TRIAL AND TRIAL DATES
